                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                              Case No. 16-CR-175

JASON MICHAEL LUDKE,

                  Defendant.
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                       SENTENCING MEMORANDUM
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        Jason Ludke should be sentenced to a 240-month term of imprisonment, to be

followed by a life term of supervised release. His criminal history includes sexually

assaulting a child and threatening to kill Chief Judge Griesbach, his staff, and his family.

Ludke was convicted here of conspiring to join ISIS after going to great lengths in his

effort to do so. And his relevant conduct includes trying from prison to have an FBI agent

killed. Ludke is a 38 year old man. He has spent over 20 years proving that the only limits

on his willingness to hurt people are his imagination and custodial status. To protect the

public, the Court should impose the statutory maximum term of imprisonment.

   I.        Nature and Circumstances of the Offense

        Ludke agreed and intended to join and fight for ISIS, because ISIS’s goals were his

goals. Ludke, over the years since he declared jihad and threatened to kill Chief Judge

Griesbach for his “kuffar regime,” has made himself very clear: he hates non-Muslims,



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Muslims who do not support ISIS, the United States, and secular democracy. And he

believes violence is the way to bring about what he wants. That is no surprise, as it is

orthodox ISIS doctrine. See, e.g., Graham Wood, THE ATLANTIC, What ISIS Really Wants

(available   at    https://www.theatlantic.com/magazine/archive/2015/03/what-isis-

really-wants/384980/) (explicating ISIS’s views and explaining that “the lack of objective

reporting from its territory makes the true extent of the slaughter unknowable, but social-

media posts from the region suggest that individual executions happen more or less

continually, and mass executions every few weeks”); see also United States v. Lutchman,

910 F.3d 33, 36-37 (2d Cir. 2018) (“Lutchman pledged his allegiance to ISIL and stated his

intention to ‘spill the blood’ of nonbelievers.”); United States v. Van Haften, 881 F.3d 543,

543 (7th Cir. 2018) (“Van Haften fits the typical profile of a terrorist: he believes that ISIS

is fighting a holy war against America—a war that will culminate in the establishment of

a global caliphate.”); United States v. Farah, 899 F.3d 608, 612 (8th Cir. 2018) (“Daud and

Farah longed for an opportunity to participate in an ISIL operation on American soil, and

Omar looked forward to the demise of the United States: ‘[The infidels] are getting it.

Allah will not let America be a superpower for this long . . . . [T]heir time is coming.’”).

       In 2015 and 2016, ISIS perpetrated hellish levels of violence. To this, Ludke was

drawn and sought to contribute. And on September 29, 2016, Ludke “pledged [his]

allegiance to the Amir Al-Mu’minin [Commander of the faithful] Al-Baghdadi as an

Imam and Caliph based on the Qur’an and Sunnah in the path of the Khulafa’ Al-

Rashidun [the rightly guided Caliphates].” He recorded this pledge and believed that he

had sent it to an ISIS recruiter in order to facilitate his enlistment. The allegiance, and

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subsequent travel to join ISIS, of foreign nationals like Ludke is essential to ISIS

advancing its goals. See Wood, What ISIS Really Wants (“Tens of thousands of foreign

Muslims are thought to have immigrated to the Islamic State. Recruits hail from France,

the United Kingdom, Belgium, Germany, Holland, Australia, Indonesia, the United

States, and many other places. Many have come to fight, and many intend to die.”).

       The point does not need to be belabored: ISIS has killed countless people, and

seeks, without exaggeration, the destruction of the United States of America. See, e.g.,

United States v. Suarez, 893 F.3d 1330, 1332 (11th Cir. 2018) (“When the FBI arrested

Harlem Suarez, he had already declared allegiance to the Islamic State of Iraq and al-

Sham (ISIS), attempted to recruit others to join him in destroying the United States”), cert.

denied, No. 18-6808, 2019 WL 113456 (U.S. Jan. 7, 2019); Doe v. Mattis, 889 F.3d 745, 749

(D.C. Cir. 2018) (ISIS “controls territory in Iraq and Syria, and has perpetrated and aided

terrorism there and around the world, killing several thousand civilians, including

American aid workers and journalists.”); United States v. Khusanov, 731 F. App’x 19 (2d

Cir. 2018) (noting that ISIS has a “history of particularly violent conduct” and “target[s]

members of the United States armed forces serving abroad and encourage[s] terrorist acts

within this country”) (citation omitted). Jason Ludke conspired to join ISIS and help do

those things.

       There can be no doubt that he truly meant to join. He believed he was

communicating with an ISIS recruiter. He said he would join. He then took the fairly

drastic step of cutting off his GPS monitor and traveling from Wisconsin to Texas to join.

He even recruited a co-conspirator, Padilla-Conde. This was a very real effort.

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       As the Court is aware, fortunately, law enforcement caught him before he could

actually join ISIS and kill anyone. That upset Ludke enough to send letters from jail, via

other inmates, calling for the murder of one of the FBI agents responsible for thwarting

Ludke’s plan. His response to being caught was not contrition or remorse, it was a new

attempted murder. The nature and circumstances of the offense could hardly be worse.

       Ludke’s actions were inherently dangerous and implicate the Material Support

statute’s raison d’etre. Section 2339B “criminalizes a range of conduct that may not be

harmful in itself but that may assist, even indirectly, organizations committed to

pursuing acts of devastating harm.” United States v. Farhane, 634 F.3d 127, 148 (2d Cir.

2011). As the Supreme Court has stated, “[t]he material-support statute is, on its face, a

preventive measure - - it criminalizes not terrorist attacks themselves, but aid that makes

the attacks more likely to occur.” Holder v. Humanitarian Law Project, 561 U.S. 1, 35 (2010).

       In Boim v. Holy Land Found, for Relief & Dev., 549 F.3d 685, 690 (7th Cir. 2008) (en

banc), the Seventh Circuit held that giving money to Hamas, in violation of Section 2339B,

necessarily involves an act “dangerous to human life.” As Boim reasoned, providing

financial support to Hamas, “by augmenting Hamas’s resources, would enable Hamas to

kill or wound, or try to kill, or conspire to kill more people[.]” Id. at 694. Boim’s reasoning

is doubly persuasive in this case.

       Volunteering oneself to a Foreign Terrorist Organization is, arguably, the most

dangerous form of material support. As one court, citing Boim, recently held, “[c]ertainly

attempting to provide oneself to a designated terrorist organization is at least, if not more,

dangerous to human life than merely providing money.” United States v. Amri, No. 1:17-

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CR-50 (LMB), 2017 WL 3262254, at *15 (E.D. Va. July 31, 2017), aff’d sub nom. United States

v. Queen, 738 F. App’x 794 (4th Cir. 2018); see also United States v. Taleb-Jedi, 566 F.Supp.2d

157, 167-69 (E.D.N.Y. 2008) (“the provision of personnel, like the provision of money, acts

to free up others in a terrorist organization to engage in violence and other acts of

terrorism”). This is so not just because the provision of oneself to a Foreign Terrorist

Organization frees up the group’s resources, but because those who “knowingly [seek]

to join a terrorist group . . . risk . . . being turned against the United States.” United States

v. Tounisi, 900 F.3d 982, 986-88 (7th Cir. 2018) (stating that the defendant had “align[ed]

himself with a group that advocates for the destruction of the United States and . . . placed

himself at risk of becoming ‘a pawn’ in a future attack against the country”). Ludke’s

actions directly implicate these concerns and, therefore, merit the harshest sanction.

   II.      History and Characteristics of the Defendant

         Jason Ludke had a difficult childhood. He was alternately in one parent’s and then

another’s custody – both were abusive – and he spent time in foster care. But he did seem

to have access to community services, received specialized, individualized education

attentional and was placed with a foster family. He reported that family was strict but

otherwise unremarkable. His two sisters are both nurses.

         Nevertheless, the parade of horribles in Ludke’s PSR defy summary. On a single

page, for example, we learn that he is required to “register as a sex offender for the rest

of his life” and that, ten years ago, Ludke declared jihad on Chief Judge Griesbach,

promising him a “slow and painful” death. PSR at page 15. He has served multiple

substantial prison terms, and upon being released, he has committed new, violent,

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hateful crimes. He has also repeatedly committed new crimes while on supervision for

previous crimes. The present case is no exception; Ludke had to cut off his GPS bracelet

in order to travel to Texas in his effort to join ISIS. Finally, Ludke’s long-standing

commitment to extremism, as demonstrated by his 2009 jihad-invoking letters Judge

Griesbach, suggests he is unlikely to reform and will likely continue to pose a threat to

the public. See Suarez, 893 F.3d at 1337 (defendant convicted of attempting to provide

material support to ISIS was “potential future threat to the public—given the likelihood

of him maintaining his radical beliefs”).

       Ludke is in criminal history category VI not merely because of the sentencing

enhancement at United States Sentencing Guidelines Section USSG § 3A1.4(a); he would

have qualified as a VI in any event.1 This is an astonishing fact given that he has hardly

managed to spend any time out of custody since his teens without committing new,

heinous crimes. But for the statutory maximum of 240 months, Ludke’s United States

Sentencing Guidelines range would be 360 months to life.

       Thus, his history and characteristics, like his offense and relevant conduct, could

hardly be worse.




1 The parties agree, and the PSR recommends, that the sentencing enhancements set out

at USSG §§ 3A1.4(a) and 3A1.4(b) are applicable. See Ludke Plea Agreement at ¶ 17;
PSR at ¶¶ 29, 51.
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   III.       Avoiding Unwarranted Disparity

          The government highlights below recent cases in which defendants received

statutory maximum sentences for convictions under Section 2339B involving the

provision of personnel to Foreign Terrorist Organizations:

          •   Abdella Tounisi, 13 Cr. 328 (N.D. Ill.): Tounisi made plans to travel to
              Syria to join Jabhat al-Nusrah, a militant terrorist group associated with
              al-Qaida. Tounisi visited a purported recruitment website for Jabhat al-
              Nusrah and emailed the listed contact person, who was an FBI agent.
              Tounisi was arrested at O’Hare International Airport attempting to
              board a flight to Turkey. Tounisi pled guilty to one count of Attempting
              to Provide Material Support to ISIS and was sentenced to the statutory
              maximum of 15 years. 2 The Seventh Circuit recently affirmed his
              sentence. See Tounisi, 900 F.3d at 987-88.
          •   Abdurasul Hasanovich Juraboev and Akhror Saidakhmetov, 15 Cr. 95
              (E.D.N.Y.): Juraboev and Saidakhmetov were roommates who sought to
              travel to ISIS-controlled territories. Juraboev and Saidakhmetov were
              eventually apprehended: Saidakhmetov after attempting to board a
              flight to Turkey, and Juraboev after purchasing a ticket for a flight to
              Turkey. Both defendants pled guilty to one count of Conspiracy to
              Provide Material Support to ISIS and were each sentenced to the
              statutory maximum of 15 years.
          •   Alla Saadeh, 15 Cr. 0558 (D.N.J.): Saadeh assisted his brother in
              attempting to join ISIS by paying for his ticket to Jordan. Saadeh also
              wished to join ISIS himself. Saadeh pled guilty to one count of
              Attempting to Provide Material Support to ISIS and was sentenced to
              the statutory maximum of 15 years.
          •   Adam Dandach, 14 Cr. 00109 (C.D. Cal.): Dandach made plans to travel
              to ISIS-controlled territory, purchased a ticket to fly from Orange
              County to Turkey, and was arrested at the John Wayne International
              Airport. Dandach pled guilty to one count of Attempting to Provide
              Material Support to ISIS and passport fraud and was sentenced to 15
              years’ incarceration, including the statutory maximum of 15 years on
              the Section 2339B charge.




2 On June 2, 2015, the Senate passed the USA Freedom Act, increasing the penalty for

violations of Section 2339B from 15 to 20 years.
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      Jason Ludke has the worst possible criminal history, offense of conviction, and

relevant conduct. He is a true danger. The United States submits that the only sentence

that can accomplish the goals of sentencing is a sentence of 240 months imprisonment to

be followed by a life term of supervised release.

      Respectfully submitted at Milwaukee, Wisconsin, this 19th day of February, 2019

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